Case 2:10-md-02179-CJB-DPC Document 1426-4 Filed 02/28/11 Page 1 of 2




                    EXHIBIT B
                        Case 2:10-md-02179-CJB-DPC Document 1426-4 Filed 02/28/11 Page 2 of 2


         Your search returned 1 entries.
         Current page number: 1

         OCS- G32306
         Current Status PRIMRY                  Central Gulf of Mexico            Sale# 206          Sale Date 3/19/2008
                           Bonus Bid       Initial Acreage      Current Acreage        Per Acre Amt.      Royalty Rate     Rental
                        34003428.000         5760.000000             5760.000000              5903.37       18.7500000       9.50
         Original Lessee(s):
          BP Exploration & Production Inc.

         Description:
                All of Block 252, Mississippi Canyon, as shown on OCS Official Protraction Diagram, NH16-10.



         06/01/2008                Date of
                                   lease.
                                   Expiration
                                   date:
                                   05/31/2018
                      02/23/2010                MOEX Offshore 2007 LLC designates BP Exploration & Production Inc. as operator. ALL OF
                                                BLOCK 252, Mississippi Canyon.
                      02/23/2010                Record title interest is now held as follows, effective 10/1/2009:


                                                MOEX Offshore 2007 LLC                                                              10.00000 %
                                                BP Exploration & Production Inc.                                                    90.00000 %

                      02/23/2010                Anadarko E&P Company LP designates BP Exploration & Production Inc. as operator. ALL
                                                OF BLOCK 252, Mississippi Canyon.
                      02/23/2010                Record title interest is now held as follows, effective 10/1/2009:


                                                Anadarko E&P Company LP                                                             22.50000 %
                                                BP Exploration & Production Inc.                                                    67.50000 %
                                                MOEX Offshore 2007 LLC                                                              10.00000 %

                      02/23/2010                Anadarko Petroleum Corporation designates BP Exploration & Production Inc. as operator.
                                                ALL OF BLOCK 252, Mississippi Canyon .
                      02/23/2010                Record title interest is now held as follows, effective 10/1/2009:


                                                Anadarko Petroleum Corporation                                                       2.50000 %
                                                Anadarko E&P Company LP                                                             22.50000 %
                                                MOEX Offshore 2007 LLC                                                              10.00000 %
                                                BP Exploration & Production Inc.                                                    65.00000 %

                      04/28/2010                Record title interest is now held as follows, effective 4/1/2010:


                                                MOEX Offshore 2007 LLC                                                              10.00000 %
                                                BP Exploration & Production Inc.                                                    65.00000 %
                                                Anadarko Petroleum Corporation                                                      25.00000 %

                      08/04/2010                Placed on continuous production on 04/20/2010.
                      11/16/2010                Held by prior production, production ceased on 07/15/2010.



                                                     Back to The Serial Register Page Online Query



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2 of 3
